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      Case: 4:20-cv-00220-SA-JMV Doc #: 63-8 Filed: 09/03/21 1 of 6 PageID #: 777


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION

RIK.A JONES, As Administratrix ofthe Estate of
ROBERT LOGGINS; RIK.A JONES, Individually
and on Behalfofthe Wrongful Death Beneficiaries
ofROBERT LOGGINS, Deceased; and RIK.A JONES,
As Mother and Next Friend ofR.D.L, a Minor.                                         PLAINTIFFS

VERSUS                                                                   No. 4 :20cv220-SA-JMV

JUSTIN GAMMAGE, REGGIE WOODALL,
EDWIN MERRIMAN, MICHAEL JONES, and
ALBERT DEANE TILLEY, In Their Individual Capacities;
CITY OF GRENADA; MOBILE MEDIC AMBULANCE
SERVICE, INC. D/B/A AMR and AMERICAN MEDICAL
RESPONSE; JOHN WATSON; JENNIFER HOWELL;
AND CORRECTIONS MANAGEMENT SERVICES, INC.                                        DEFENDANTS


                        DECLARATION OF DR. MICHAEL ARNALL


       I, Mike Arnall, submit this Declaration pursuant to 28 U.S.C. § 1746.

       1. I am a Board-Certified Forensic Pathologist. Attached hereto is a true and correct copy

ofmy CV as well as a true and correct copy ofthe opinion I provided to Jacob Jordan and Victor

Fleitas in this matter on March 10, 2021. These attachments are adopted and incorporated by

reference.

       I declare under penalty ofperjury that the above and foregoing is true and correct.

       Executed on August 31, 2021.




                                                                                       Exhibit H
Case: 4:20-cv-00220-SA-JMV Doc #: 63-8 Filed: 09/03/21 2 of 6 PageID #: 778
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